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                        UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF DELAWARE


 In re:                                              Chapter 11

 Team Systems International, LLC,                    Case No. 22-10066-CTG

                       Debtor(s).



            CREDITORS’ WITNESS LIST AND EXHIBIT LIST FOR HEARING

          Creditors, GPDEV, LLC AND SIMONS EXPLORATION, INC., (“Creditors”), by and

through their undersigned counsel, hereby submit the enclosed witness and exhibit list for the

hearing presently scheduled for February 9, 2022 at 1:00 p.m. (Eastern Time) for GPDEV, LLC

and Simons Exploration, Inc.’s Motion for Entry of an Order Dismissing Chapter 11 Case with

Prejudice (the “Motion to Dismiss”) [D.I. 41].


Dated: February 7, 2022                     Respectfully submitted,

                                            KASEN & KASEN, P.C.

                                            /s/ Jenny R. Kasen
                                            Jenny R. Kasen, Esquire (DE Bar No. 5849)
                                            The Brandywine Building
                                            1000 N. West Street, Suite 1200
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                                                   -and-

                                            MICHAEL H. MOODY LAW, P.A.

                                            /s/ Michael H. Moody
                                            Michael Moody, Esq.
                                            1881-A Northwood Center Blvd
                                            Tallahassee, FL 32303
                                            Telephone: (850) 739-6970
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                       Counsel to GPDEV, LLC and SIMONS
                       EXPLORATION, INC.




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Creditors' Witness List:

           Name                            Title                            E-Mail Address           Location for Testimony                                                Summary of Subject Matter of Anticipated Testimony
       George Peterson          Principal of GPDEV, LLC            GPeterson@projectdimensions.com 4 Park Plaza, Suite 700, Irvine, CA 92614                        Matters relating to Creditor's Motion to Dismiss/Related Relief
       Jordan Simons       Principal of Simons Exploration, Inc.      jordansimons77@gmail.com       542 N. Cherokee Ave, Los Angeles, CA 90004                     Matters relating to Creditor's Motion to Dismiss/Related Relief
       Leonard Collins       Shareholder Gray Robinson, P.A.       leonard.collins@gray-robinson.com 301 South Bronough Street, Suite 600, Tallahassee, FL 32301    Matters relating to Creditor's Motion to Dismiss/Related Relief
         Ryan Orner        President, RJOrner & Company, LLC              rjorner@rjorner.com        301 South Bronough Street, Suite 600, Tallahassee, FL 32301    Matters relating to Creditor's Motion to Dismiss/Related Relief
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Creditors' Exhibit List:

       No.         Description
        1          Bank Statements Artisans # 2968 September 21, 2021 through January 31, 2022
        2          Bank Statements BBVA # 7965 January 1, 2018 through October 31, 2020
        3          Bank Statements BBVA # 8953 January 1, 2018 through January 22, 2019
        4          Bank Statements BBVA # 9759 January 1, 2018 through August 31, 2021
        5          Bank Statements BBVA #1519 January 1, 2018 through November 30, 2018
        6          Bank Statements BBVA #2888 March 26, 2019 through October 8, 2021
        7          Bank Statements TD # 3152 July 27, 2018 through May 31, 2019
        8          Bankruptcy Docket
        9          Bankruptcy Docket [D.I. 1] Petition
       10          Bankruptcy Docket [D.I. 3] First Day Affidavit
       11          Bankruptcy Docket [D.I. 13] Creditors' Notice of Service of Subpoena for Debtor to Produce Documents
       12          Bankruptcy Docket [D.I. 28] Schedules
       13          Bankruptcy Docket [D.I. 29] SOFA
       14          Bankruptcy Docket [D.I. 56] Amended Schedule E/F
       15          Debtor's Articles of Organization
       16          Debtor's Income Statement 2018
       17          Debtor's Income Statement 2019
       18          Debtor's Operating Agreement
       19          Debtor's Receipt of $37M from FEMA for Bottled Water Sales
       20          District Court Action - Docket
       21          District Court Action [D.I. 58] Order Denying Debtor's Motion to Dismiss and Transfer
       22          District Court Action [D.I. 105] 2.3.20 Creditors' Motion to Compel Discovery and Impose Sanctions
       23          District Court Action [D.I. 123] Debtor's Response to Creditors' Motion to Compel Discovery
       24          District Court Action [D.I. 133] District Court Order Compelling Document Production and Awarding Attorney's Fees
       25          District Court Action [D.I. 230] 3.30.21 Creditors' Motion for Evidentiary Hearing and Sanctions against Debtor
       26          District Court Action [D.I. 243] 5.8.21 District Court Order Addressing Late and Incomplete Document Production
       27          District Court Action [D.I. 305] Order for Entry of Judgment Against Debtor
       28          District Court Action [D.I. 322] District Court Order Denying a Stay Pending Appeal
       29          District Court Action [D.I. 322] District Court Order Denying Stay Pending Appeal
       30          District Court Action [D.I. 333] District Court Order to Show Cause
       31          District Court Action [D.I. 340] 1.7.22 Debtor's Motion for Extension of Time to Comply with Court Orders
       32          District Court Action [D.I. 346] District Court Order Authorizing Creditors' Subpoenas and Setting Preliminary Hearing on Show Cause Motion Dated January 19, 2022
       33          District Court Action Appeal 11th Circuit 1.10.22 Order Denying Stay Pending Appeal
       34          District Court Action Post Judgment PNC Reponse to Writ of Garnishment
       35          District Court Action Post-Judgment Discovery Creditors' First Requests for Production in AId of Execution
       36          District Court Action Post-Judgment Discovery Creditors' First Set of Interrogatories in Aid of Execution
       37          District Court Action Post-Judgment Discovery Fact Information Sheet
       38          District Court Action Transcript of Jury Trial Day 3
       39          FEMA Litigation 4.30.21 Contracting Officers Denial of Restocking Fee pdf
       40          FEMA Litigation 7.8.21 1 Debtor/Appelllant's Complaint
       41          FEMA Litigation 7.8.21 Debtor/Appellant's Amended Complaint
       42          FEMA Litigation Debtor/Appellant's Motion for Summary Judgment
       43          FEMA Litigation Debtor/Appellant's Summary Judgment Reply Brief
       44          FEMA Litigation Denial of Summary Judgment Motions 1.27.22
       45          Other Entity Addy Road Annual Report 2021
       46          Other Entity Addy Road LLC Articles of Organization
       47          Other Entity Addy Road LLC Delaware Division of Corporations - Filing
       48          Other Entity CDX Industries LLC Articles of Organization
       49          Other Entity CDX Industries LLC SAM Code
       50          Other Entity Team Systems International Agency II LLC Articles of Organization
       51          Other Entity Team Systems International Southeast LLC Articles of Organization
       52          Other Entity Team Systems International Southeast LLC Change of Registered Agent
       53          Real Estate Addy Road LLC Bethany Beach Delaware Deed
       54          Real Estate Addy Road LLC Bethany Beach Delaware Purchase Price Report
       55          Real Estate Addy Road LLC Bethany Beach Delaware Sunbiz Report
       56          Real Estate Addy Road LLC Bethany Beach Delaware
       57          Real Estate Addy Road LLC property search
       58          Real Estate Jackson County Missouri - Real Estate Sales Search Results with Purchase Price
       59          Real Estate Jackson County Missouri Deed - to Deborah Mott[1]
       60          Real Estate Jackson County Missouri Property - Real Estate Sales Search Results with Purchase Price[1]
       61          Real Estate Jackson County Missouri Property
       62          Real Estate Jackson Missouri Deed - to Deborah Mott
       63          Real Estate Ormond Beach Florida Property
       64          Social Media 1.9.22 (1 of 2)
       65          Social Media 1.9.22 (2 of 2)
       66          Tax Return 2018
       67          Tax Return 2019
       68          Transfers to Insiders # 1519
       69          Transfers to Insiders # 2888
       70          Transfers to Insiders # 8953
       71          Transfers to Insiders # 9759
       72          Transfers to Insiders #7965
       73          Transfers to Insiders Venmo
       74          Voicemail January 27, 2022 Transcript
       75          Payments from FEMA to Debtor
       76          Payments from FEMA to Debtor
       77          Bank Account Transaction Details
       78          Bank Report 7965
       79          Bank Report 8953
       80          Bank Report 9759
       81          FEMA Voucher
       82          FEMA Voucher
       83          Vendor Report
       84          Debtor's Payment to Coakley
       85          Debtor's Payment to Coakley
       86          Debtor's Payment to Bering Straits Payment
